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 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               No. 2:06-cr-0238-MCE
12              Plaintiff,
13         v.                                RELATED CASE ORDER
14   ARJINDER SINGH, JASWANT KAUR,
     SUCHA SINGH, and GURMINDER
15   SINGH,
16             Defendants.
     _____________________________/
17
     UNITED STATES OF AMERICA,               No. 2:06-cr-0239-FCD
18
                Plaintiff,
19
           v.
20
     PAUL PANNU,
21
               Defendant.
22   ______________________________/
23         Examination of the above-entitled criminal actions reveals
24   that these actions are related within the meaning of Local Rule
25   83-123(a) (E.D. Cal. 1997).
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 1   The actions involve many of the same defendants and are based on
 2   the same or similar claims, the same property transaction or
 3   event, similar questions of fact and the same questions of law,
 4   and would therefore entail a substantial duplication of labor if
 5   heard by different judges.     Accordingly, the assignment of the
 6   matters to the same judge is likely to effect a substantial
 7   savings of judicial effort and is also likely to be convenient
 8   for the parties.
 9        The parties should be aware that relating the cases under
10   Local Rule 83-123 merely has the result that both actions are
11   assigned to the same judge; no consolidation of the action is
12   effected.   Under the regular practice of this Court, related
13   cases are generally assigned to the district judge and magistrate
14   judge to whom the first filed action was assigned.
15        IT IS THEREFORE ORDERED that the action denominated 2:06-cr-
16   0239-FCD, United States of America v. Paul Pannu is reassigned to
17   Judge Morrison C. England, Jr. for all further proceedings, and
18   any dates currently set in this reassigned case only is hereby
19   VACATED.    Henceforth, the caption on documents filed in the
20   reassigned case shall be shown as 2:06-cr-0239-MCE.
21        IT IS FURTHER ORDERED that the Clerk of the Court make
22   appropriate adjustment in the assignment of criminal cases to
23   compensate for this reassignment.
24        IT IS SO ORDERED.
25   DATED: July 17, 2006
26                                    _____________________________
                                      MORRISON C. ENGLAND, JR
27                                    UNITED STATES DISTRICT JUDGE
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